                                 UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF NEW YORK

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CERVECERÍA MODELO DE MÉXICO,                                   :
S. DE R.L. DE C.V.,                                            :
                                                               :
                                    Plaintiff,                 :
                          v.                                   :
                                                               :   No. 1:21-CV-07316-LAK
CB BRAND STRATEGIES, LLC,                                      :
CROWN IMPORTS LLC, and                                         :
COMPAÑÍA CERVECERA DE                                          :
COAHUILA, S. DE R.L. DE C.V.,                                  :
                                                               :
                                    Defendants.                :
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                          [PROPOSED] FINAL JUDGMENT OF INJUNCTION


                    Pursuant to Fed. R. Civ. P. 58 and 65, Plaintiff Cervecería Modelo de México, S.

de R.L. de C.V. (“Modelo”) and Defendants CB Brand Strategies, LLC, Crown Imports LLC, and

Compañía Cervecera de Coahuila, S. de R.L. de C.V. (collectively, “Defendants” or

“Constellation”), having resolved this action pursuant to Defendants’ Offer of Judgment Pursuant

to Rule 68 of the Federal Rules of Civil Procedure, which was accepted by Plaintiff on September

7, 2023, the Court hereby enters FINAL JUDGMENT as follows:

          1.        Defendants, including their agents, officers, directors, employees, franchisees,

licensees, affiliates, principals, subsidiaries, parents, servants, representatives, attorneys,

shareholders, divisions, successors, and assigns, and all those in active concert or participation

with them who receive notice of this Final Judgment directly or otherwise, are permanently

enjoined from producing, marketing or selling either of the Modelo Reserva products: Modelo

Reserva beer claiming to be finished on aged wood from Tequila Barrels, or Modelo Reserva beer

claiming to be finished on aged wood from Bourbon Barrels.
       2.         Plaintiff shall recover its reasonable costs of suit through June 23, 2022 (not

including any expert witness fees or attorneys’ fees), supported by documentary evidence and a

sworn statement of Plaintiff’s counsel.

       3.         Without any admission by Defendants of liability or harm, this action is dismissed

with prejudice.



       IT IS SO ORDERED AND ADJUDGED.

Dated: September ____, 2023
                                                        The Honorable Lewis A. Kaplan
                                                        UNITED STATES DISTRICT JUDGE




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